Exhibit I
                                                       Monday, August 3, 2020 at 20:57:29 Paciﬁc Daylight Time

Subject:    RE: [Zepeda Rivas] proposal for tes4ng/cohor4ng protocol
Date:       Tuesday, July 28, 2020 at 5:40:33 PM Paciﬁc Daylight Time
From:       Sean Riordan
To:         Choe, Shiwon (USACAN), Coleman, Susan E., Zack, Adrienne (USACAN), Garbers, Wendy
            (USACAN)
CC:         Bill Freeman, Angelica Salceda, Marty Schenker, Maclean, Emilou (PDR), Bree Bernwanger,
            Francisco Unger, Timothy Cook, Beier, Genna (PDR), Judah Lakin
AGachments: image001.jpg

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Dear Shiwon:

We’re following up here on several of the framework and substan4ve ques4ons you raised during
yesterday’s mee4ng concerning tes4ng and cohor4ng protocols. We also address pending case
management issues in advance of next Wednesday’s CMC.

TesHng and CohorHng Protocols

      Nego4a4on Framework Ques4ons:

             As we stated yesterday, if the par4es reach agreement on a protocol for tes4ng and
             cohor4ng class members, we would not seek an eviden4ary hearing absent changed
             circumstances or new disputes of which we are presently unaware.

             As we indicated yesterday, we are willing to discuss a global resolu4on of the case if the
             Defendants are so interested. Indeed, if ICE is interested in exploring a global resolu4on,
             we believe that agreeing on a robust tes4ng/cohor4ng regime would be an important
             trust-building step. But regardless of whether there is progress to be had on possible
             seblement of the whole case, tes4ng/cohor4ng is an urgent issue that should be resolved
             as soon as possible.

      Substan4ve Ques4ons:

             Whether the plain4ﬀs would agree to increasing the density of certain dorms to free up
             other dorms for cohor4ng posi4ves and/or refusers:
                   As we indicated in our ini4al proposal, we recognize that some modest increase may




                                                                                                            Page 1 of 7
                 be necessary.
                 Aeer further communica4on with experts on this ques4on, we con4nue to believe
                 that anything more than a modest increase would be too dangerous. The Abbob ID
                 Now test remains an important tool for universal periodic tes4ng, but it returns
                 false nega4ves, as discovery in this case further aﬃrms. This limita4on means that a
                 dorm of people who have all tested nega4ve cannot be guaranteed to not have any
                 COVID-posi4ve detainees. Moreover, even those who do have the disease may not
                 test posi4ve, depending on the par4cular point in the infec4on cycle at which they
                 are tested. There is also risk that between tes4ng the virus could be introduced into
                 a non-cohort dorm by other means – ven4la4on, facility personnel, etc. For all these
                 reasons, maintaining social distancing remains important even with a rigorous
                 tes4ng/cohor4ng system.
                 You asked us to provide a par4cular number for any dorm that would be considered
                 safe. We would be interested in working with ICE on a cap number, in keeping with
                 the impera4ve for social distancing.

           Whether class members denied bail by Judge Chhabria should not be released in order to
           achieve the safe cohor4ng of class members:
                 We propose a tes4ng/cohor4ng system where ICE would decide who should be
                 released in circumstances where released is required to avoid the unsafe
                 redensiﬁca4on of a par4cular dorm. Under the Plain4ﬀs’ proposal, ICE would have
                 no obliga4on to release detainees previously denied bail by Judge Chhabria, but
                 there would be no categorical prohibi4on against ICE deciding to release such
                 detainees in its discre4on.
                 To proac4vely address the possibility that at least one dorm may need to be cleared
                 and the consequent density issues, we believe it would be wise for ICE to begin by
                 temporarily hal4ng new arrivals to Mesa Verde and voluntarily releasing individuals
                 who are a rela4vely lower security classiﬁca4on (see, e.g., ICE 637).

           How long refusers should be cohorted:
                We believe that if ICE oﬀers tes4ng that provides prompt results, adequately
                explains the tests and the uses to which the results can be put, provides reasonable
                release forms, and allows class counsel to discuss the beneﬁts of tes4ng with
                puta4ve refusers, the number of refusers will be extremely low. If we can agree on
                the other aspects of a proposal, we would commit to use our best eﬀorts to
                convince any reluctant class member to submit to a test.
                For those who s4ll refuse, the cohor4ng 4me should be 14 days or un4l they are
                willing to be tested, whichever is shorter.

           Whether the court should order that class members be required to wear masks:
               We would want addi4onal informa4on about the Defendants’ understanding of how
               oeen and in what circumstances class members are not wearing masks. We do not
               think development of this issue – which we are happy to con4nue discussing –
               should delay the implementa4on of a universal and regular tes4ng system with
               cohor4ng plans.

We hope this addi4onal informa4on is useful to you and the Defendants. We would be happy to set a
further mee4ng to discuss tes4ng/cohor4ng issues at your earliest convenience.

Case Management Issues
                                                                                                  Page 2 of 7
Case Management Issues

We plan to submit a short case management statement tomorrow no4ng the recent COVID-19 posi4ve
tests and the par4es’ discussion of a poten4al tes4ng/cohor4ng regime. We will indicate that if the
par4es cannot resolve this issue that we plan to ﬁle a mo4on on or around August 14 seeking
addi4onal preliminary injunc4ve relief of court-imposed tes4ng and cohor4ng requirements. We may
seek an eviden4ary hearing to assist in resolving any such mo4on, and the court may order the same.
 If we are unable to resolve this issue by the 4me we ﬁle our mo4on, we will remain interested in
con4nuing discussions thereaeer in an abempt to develop a mutually acceptable tes4ng and cohor4ng
regime.

We also understand that the par4es are to confer in advance of the CMC on future case deadlines. We
propose the following rough case management deadlines:

      Fact discovery cut-oﬀ: March 2021.
      Expert discovery cut-oﬀ: June 2021.
      MSJ cut-oﬀ: August 2021.
      Trial: mid-2022.

Please let us know if you agree with these deadlines in principle.

Best Regards,
Sean

From: Sean Riordan
Sent: Saturday, July 25, 2020 1:24 PM
To: 'Choe, Shiwon (USACAN)' <Shiwon.Choe@usdoj.gov>; Coleman, Susan E. <SColeman@bwslaw.com>;
Zack, Adrienne (USACAN) <Adrienne.Zack@usdoj.gov>; Garbers, Wendy (USACAN)
<Wendy.Garbers@usdoj.gov>
Cc: Bill Freeman <wfreeman@aclunc.org>; Angelica Salceda <asalceda@aclunc.org>; Marty Schenker
<mschenker@cooley.com>; Emilou Maclean <emilou.maclean@sfgov.org>; Bree Bernwanger
<bbernwanger@lccrsf.org>; Francisco Unger <funger@cooley.com>; Timothy Cook <tcook@cooley.com>;
Genna Beier <genna.beier@sfgov.org>; Judah Lakin <judah@lakinwille.com>
Subject: RE: [Zepeda Rivas] proposal for tes4ng/cohor4ng protocol

Shiwon:

We appreciate the quick response on this.

Monday at 1 p.m. works best from our end. We recently switched over to “Microsoe Teams” as our remote
mee4ng plavorm, and I can send an invite for that. Or if you have a conference call line, we’d be happy to use
that.

Thanks,
Sean




                                                                                                          Page 3 of 7
From: Choe, Shiwon (USACAN) <Shiwon.Choe@usdoj.gov>
Sent: Friday, July 24, 2020 11:58 PM
To: Sean Riordan <SRiordan@aclunc.org>; Coleman, Susan E. <SColeman@bwslaw.com>; Zack, Adrienne
(USACAN) <Adrienne.Zack@usdoj.gov>; Garbers, Wendy (USACAN) <Wendy.Garbers@usdoj.gov>
Cc: Bill Freeman <wfreeman@aclunc.org>; Angelica Salceda <asalceda@aclunc.org>; Marty Schenker
<mschenker@cooley.com>; Emilou Maclean <emilou.maclean@sfgov.org>; Bree Bernwanger
<bbernwanger@lccrsf.org>; Francisco Unger <funger@cooley.com>; Timothy Cook <tcook@cooley.com>;
Genna Beier <genna.beier@sfgov.org>; Judah Lakin <judah@lakinwille.com>
Subject: RE: [Zepeda Rivas] proposal for tes4ng/cohor4ng protocol

Dear Sean:

We have received Plain4ﬀs’ proposal and are reviewing and evalua4ng with ICE.

We had some ini4al ques4ons about Plain4ﬀs’ proposal where we may need further clarity in order to
evaluate. We are happy to have a call to meet and confer to discuss on Monday between 10 and 11 or
between 1 and 2, if that works for Plain4ﬀs and for GEO?

Best regards,
Shiwon


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From: Sean Riordan <SRiordan@aclunc.org>
Sent: Friday, July 24, 2020 1:26 PM
To: Coleman, Susan E. <SColeman@bwslaw.com>; Zack, Adrienne (USACAN) <AZack1@usa.doj.gov>; Choe,
Shiwon (USACAN) <SChoe@usa.doj.gov>; Garbers, Wendy (USACAN) <wgarbers@usa.doj.gov>
Cc: Bill Freeman <wfreeman@aclunc.org>; Angelica Salceda <asalceda@aclunc.org>; Marty Schenker
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Genna Beier <genna.beier@sfgov.org>; Judah Lakin <judah@lakinwille.com>




                                                                                                     Page 4 of 7
Subject: RE: [Zepeda Rivas] proposal for tes4ng/cohor4ng protocol

In our proposal, that would depend on the availability of RHU/medical isola4on space for those who refuse
tes4ng. As an ini4al maber, we believe this would be a very small or non-existent group if other aspects of
our proposal were implemented, including the provision where we as class counsel would speak to refusers
about tes4ng. But if someone con4nued to refuse, the highlighted text below would cover that situa4on.

      Refusal issues: If the beneﬁts of being tested were explained to all class members, we believe it
      would be very rare for a class member to refuse a test. With this in mind:
           The par4es should work together to formulate an informa4on sheet providing basic
           informa4on about tes4ng to class members, which would be provided at the 4me a test is
           oﬀered.
           Any class members who refuse to be tested should be provided an opportunity to speak
           with class counsel.
           If aeer speaking with class counsel, they con4nue to decline tes4ng, they should be
           cohorted in one of the RHU or medical cells, if available, or, if space restric4ons render it
           necessary, in another dorm that could be cleared for the purpose of cohor4ng those who
           refuse.
           ICE should refrain from transferring to another deten4on facility anyone who refuses to be
           tested on intake. Public health experts inform us that this prac4ce presents a risk to the
           personnel involved in the transport and to the personnel and detainees at the receiving
           facility, and these concerns are consistent with the CDC Guidance on Management of
           COVID-19 in Correc4onal and Deten4on Facili4es which strongly discourages transfers of
           detained persons “unless necessary.” At intake, individuals should be presented in a
           posi4ve way the op4on of taking a test, aﬀorded an opportunity to speak with class
           counsel about the test if they express reluctance, and cohorted for 14 days with anyone
           else who refuses if they ul4mately decline to be tested.


From: Coleman, Susan E. <SColeman@bwslaw.com>
Sent: Friday, July 24, 2020 1:20 PM
To: Sean Riordan <SRiordan@aclunc.org>; Zack, Adrienne (USACAN) <Adrienne.Zack@usdoj.gov>; Choe,
Shiwon (USACAN) <Shiwon.Choe@usdoj.gov>; Garbers, Wendy (USACAN) <Wendy.Garbers@usdoj.gov>
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<mschenker@cooley.com>; Emilou Maclean <emilou.maclean@sfgov.org>; Bree Bernwanger
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Genna Beier <genna.beier@sfgov.org>; Judah Lakin <judah@lakinwille.com>
Subject: RE: [Zepeda Rivas] proposal for tes4ng/cohor4ng protocol

Counsel – what do you propose to do for the plain4ﬀs-detainees that refuse tes4ng?

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IMMEDIATELY BY TELEPHONING THE SENDER NAMED ABOVE AT 800.333.4297. Thank you.


From: Sean Riordan [mailto:SRiordan@aclunc.org]
Sent: Friday, July 24, 2020 12:47 PM
To: Zack, Adrienne (USACAN); Choe, Shiwon (USACAN); Garbers, Wendy (USACAN); Coleman, Susan E.
Cc: Bill Freeman; Angelica Salceda; Marty Schenker; Emilou Maclean; Bree Bernwanger; Francisco Unger; Timothy
Cook; Genna Beier; Judah Lakin
Subject: [Zepeda Rivas] proposal for testing/cohorting protocol

[EXTERNAL]

Dear Counsel:

We write to address the urgent need for universal and regular COVID-19 tes4ng of class members at
Mesa Verde. As you know, twelve MVDF staﬀ and two detained class members have recently tested
posi4ve for COVID-19. While we believe that universal and regular tes4ng should have already been
occurring, in light of these developments it is impera4ve that ICE quickly establish such a tes4ng
regime and a plan for responding to any posi4ve test. As the CDC’s tes4ng guidance (“CDC Guidance”)
states, “Before tes4ng large numbers of asymptoma4c individuals without known or suspected
exposure, facility leadership should have a plan in place for how they will modify opera4ons based on
test results.”

In recent days we have consulted medical and public health experts to beber understand the problem
and come up with poten4al solu4ons. Given that ICE has already expressed its willingness to engage in
universal tes4ng, we hope the Defendants will quickly agree to the implementa4on of this plan. We
note that Defendants iden4ﬁed problema4c condi4ons precedent to the implementa4on of universal
tes4ng, see Bonnar Declara4on (ECF 429-1), para. 10 & n.3. Experts iden4ﬁed such condi4ons as either
inconsequen4al or surmountable.

Speciﬁcally, we propose:

       Intake: ICE con4nue to test all arriving class members at intake and to medically isolate any such
       person who tests posi4ve.
       Universal and regular tesHng: ICE test all MVDF personnel and class members on a regular basis,
       at least once per week, through a point of care test that returns results quickly, allowing the
       results to be acted upon.




                                                                                                                          Page 6 of 7
results to be acted upon.
      Experts inform us that the Abbob ID test already in use at MVDF is adequate for these
      purposes. By contrast, any test would be inadequate if it presents a signiﬁcant delay in the
      availability of results, as Defendants have suggested is likely for tests that require oﬀsite
      laboratory analysis. See Bonnar Dec. n. 3.
      As a point of reference, some other ins4tu4ons – like universi4es – are planning to test
      their popula4ons two to three 4mes per week to control against outbreaks. Professional
      sports leagues are doing this daily – they are, like DHS, mul4-billion dollar opera4ons with
      the possibility of widespread COVID infec4on if adequate mi4ga4on measures are not
      implemented. Experts have advised that weekly tests are appropriate in a seyng such as
      MVDF, and this is consistent with CDC Guidance (“Approaches for early iden4ﬁca4on of
      asymptoma4c individuals include, ini4al tes4ng of everyone in the seyng, periodic (e.g.,
      weekly) tes4ng of everyone in the seyng, and tes4ng of new or returning entrants into
      the seyng.”).
EﬀecHve contact tracing: ICE trace and test anyone who was in contact with staﬀ or class
members who tested posi4ve, with a contact window beyond the two days that is the current
prac4ce. Experts recommend tracing and tes4ng all those who came into contact with a
conﬁrmed posi4ve individual within 14 days from the date that the individual contact tested
posi4ve absent evidence that the person who tested posi4ve became infected only more
recently.
Arranging facility for cohorHng: The Defendants establish a plan for responding to posi4ve tests
among the general popula4on (i.e., not including intakes). If a class member tests posi4ve, they
should be placed in medical isola4on consistent with the CDC guidelines. If there is insuﬃcient
space in medical isola4on cells and/or the RHU in which to isolate that person, as an alterna4ve
Plain4ﬀs propose that the Defendants would cohort the conﬁrmed COVID-posi4ve class
members in a separate dorm. Thus, Defendants would:
      Clear the class members from one of the dorms and use that dorm as the site in which to
      quaran4ne those who test posi4ve in a cohort. The clearing of that dorm should include
      taking measures to ensure that air is not circula4ng from that dorm to other parts of the
      facility. This may require modifying the exis4ng ven4la4on system. It should also include
      signiﬁcant measures to ensure that staﬀ serving that COVID-posi4ve dorm take measures
      to prevent transmission to other parts of the facility (i.e., with staﬀ limi4ng their
      engagement with other class members outside of the dorm of those who test posi4ve
      except to the extent necessary). On the expecta4on that adop4on of this protocol would
      increase the safety level of the remaining dorms, we would be willing to discuss a modest
      increase in the number of detainees housed in those dorms.
      Refrain from adding any new individual into a dorm from which a class member was
      moved aeer tes4ng posi4ve un4l 14 days have passed or all individuals in that dorm have
      tested nega4ve. The dorm from which a class member was moved essen4ally becomes its
      own temporary cohort.
Refusal issues: If the beneﬁts of being tested were explained to all class members, we believe it
would be very rare for a class member to refuse a test. With this in mind:
     The par4es should work together to formulate an informa4on sheet providing basic
     informa4on about tes4ng to class members, which would be provided at the 4me a test is
     oﬀered.




                                                                                               Page 7 of 7
            oﬀered.
            Any class members who refuse to be tested should be provided an opportunity to speak
            with class counsel.
            If aeer speaking with class counsel, they con4nue to decline tes4ng, they should be
            cohorted in one of the RHU or medical cells, if available, or, if space restric4ons render it
            necessary, in another dorm that could be cleared for the purpose of cohor4ng those who
            refuse.
            ICE should refrain from transferring to another deten4on facility anyone who refuses to be
            tested on intake. Public health experts inform us that this prac4ce presents a risk to the
            personnel involved in the transport and to the personnel and detainees at the receiving
            facility, and these concerns are consistent with the CDC Guidance on Management of
            COVID-19 in Correc4onal and Deten4on Facili4es which strongly discourages transfers of
            detained persons “unless necessary.” At intake, individuals should be presented in a
            posi4ve way the op4on of taking a test, aﬀorded an opportunity to speak with class
            counsel about the test if they express reluctance, and cohorted for 14 days with anyone
            else who refuses if they ul4mately decline to be tested.
      Releasing individuals to avoid increased density if dorms need to be rearranged in light of
      posiHve test results: Given the signiﬁcant possibility that at least one and possibly two dorms
      would have to be cleared under this plan, and to comply with the preliminary injunc4on’s
      requirement that condi4ons be maintained at the current level of safety, ICE will likely need to
      release addi4onal class members at MVDF and/or slow or stop the arrival of new class members
      for a 4me. Otherwise, in clearing one or more dorms, the remaining dorms will be made
      signiﬁcantly more crowded, increasing the risk of COVID-19 transmission in those remaining
      dorms. This should be done either voluntarily or through the Court’s revisi4ng of bail
      applica4ons, and this should priori4ze those with medical vulnerabili4es.

The Defendants have already oﬀered universal tes4ng of some sort (Bonnar Dec. para. 10) and have
apparently seriously considered a cohor4ng scheme similar to the one suggested here (GEO 059). We
hope then that the par4es can reach a quick agreement to meaningfully address the tes4ng and
cohor4ng issues that the recent posi4ve test results have made all the more urgent. Everyone involved
has a signiﬁcant interest in ensuring that Mesa Verde doesn’t become the San Quen4n of immigra4on
deten4on centers. Our experts think the measures we’ve proposed, which are consistent with CDC
guidance, represent a reasonable way to hedge against a tragic and deadly outcome.

We suggest the par4es meet and confer to discuss this at the earliest opportunity. We hope to be able
to resolve this without further li4ga4on.

Best Regards,
Sean




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